        Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                           MDL No. 2323
INJURY LITIGATION
                                                     Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS




              CO-LEAD CLASS COUNSEL’S RESPONSE TO THE YERRID
              LAW FIRM AND NEUROCOGNITIVE FOOTBALL LAWYERS’
              MOTION TO REVIEW DEPRIVATION OF APPEAL RIGHTS


       Co-Lead Class Counsel, Christopher A. Seeger, hereby responds to The Yerrid Law Firm

and Neurocognitive Football Lawyers’ Motion to Review Deprivation of Appeal Rights. For the

reasons set forth below, as well as for those reasons set forth in the Claims Administrator’s

Response to Motion to Prohibit Ex Parte Interviews with Treating Doctors and Partial Joinder to
           Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 2 of 8



the Motion Brought by the Locks Law Firm Filed by Neurocognitive Football Lawyers, LLC

Lawyers (Document No. 9870), the motion should be denied.

                                         BACKGROUND

          As a procedural matter, the pleading filed by The Yerrid Law Firm (“YLF”) and

Neurocognitive Football Lawyers (“NCFL”) on March 30, 2018 (Document 9843) is entitled “The

Yerrid Law Firm and Neurocognitive Football Lawyers’ (1) Partial Joinder to the Motion Brought

by the Locks Law Firm for Appointment of Administrative Counsel, (2) Motion to Review

Deprivation of Appeal Rights and (3) Requesting Oral Argument.” However, despite its title, the

document filed by YLF and NCF provides no substantive discussion or support for its “partial

joinder” in Locks’ Motion. Rather, YLF and NCFL’s filing deals exclusively with their Motion

to Review Deprivation of Appeal Right. Accordingly, this response is limited to that motion. To

the extent that any response is necessary to YLF and NCFL’s partial joinder in Locks’ Motion,

that response can be found in Co-Lead Class Counsel’s Opposition to the Motion of The Locks

Firm for Appointment of Administrative Class Counsel and all Joinders thereto, being filed today.

          This motion is not YLF and NCFL’s first attack on the Claims Administrator’s use of the

audit process. The same firms filed a Motion to Prohibit Ex Parte Interviews with Treating

Physicians (Document No. 9815) on March 26, 2018. Co-Lead Class Counsel filed its opposition

to that motion on April 9, 2018 (Document No. 9869). While that motion will be decided on its

own merits, Co-Lead Class Counsel references that motion because of a striking similarity it has

with the current motion. Both motions reveal YLF and NCFL’s ignorance of the audit process as

provided for in the Amended Settlement Agreement and the Special Master’s Rules Governing the

Audit of Claims, as well as the Claims Administrator’s use of its clear authority to conduct such

audits.


                                                 2
         Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 3 of 8



                                          ARGUMENT

       Virtually every complaint made by YLF and NCFL in their motion stems directly from

their fundamental misunderstanding of the Amended Settlement Agreement and/or the Special

Master’s Rules Governing the Audit of Claims. Specifically, throughout their motion, YLF and

NCFL mistakenly take the position that the Claims Administrator’s right to audit claims is derived

solely from Section 10.3(c) of the Amended Settlement Agreement, which reads:

               (c) On a monthly basis, the Claims Administrator will audit ten percent
               (10%) of the total Claim Packages and Derivative Claim Packages that
               the Claims Administrator has found to qualify for Monetary Awards or
               Derivative Claimant Awards during the preceding month. The Claims
               Administrator will select such Claim Packages and Derivative Claim
               Packages for auditing on a random basis or to address a specific
               concern raised by a Claim Package or Derivative Claim Package, but
               will audit at least one Claim Package, if any qualify, each month.

YLF and NCFL believe that the only claims subject to possible audit by the Claims Administrator

are those claims that have already been approved for a Monetary Award, and even then that the

Claims Administrator can audit only 10% of that population on a monthly basis.

       YLF and NCFL simply ignore several other relevant sections of the Amended Settlement

Agreement and the Rules Governing the Audit of Claims promulgated by the Special Masters.

Specifically, they ignored Sections 8.6(b), 10.3(b), 10.3(j) and 10.4 of the Amended Settlement

Agreement.

       Section 8.6(b) provides:

               (b) The Claims Administrator will have the discretion to undertake or
               cause to be undertaken further verification and investigation, including
               into the nature and sufficiency of any Claim Package or Derivative
               Claim Package documentation, including, without limitation, as set
               forth in Section 10.3.

There is no limitation in this section as to the types of claims that the Claims Administrator can

investigate.   YLF and NCFL also ignore Sections 10.3(b) and 10.4 of the Amended Settlement

                                                3
         Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 4 of 8



Agreement. Those two sections are closely related so it makes sense to view them together.

Section 10.3(b) states, in relevant part, that:

                (b) In addition, Co-Lead Class Counsel, Counsel for the NFL Parties,
                and the Claims Administrator will establish and implement procedures
                to detect and prevent fraudulent submissions to, and payments of
                fraudulent claims from, the Monetary Award Fund. Among other fraud
                detection and prevention procedures, the Claims Administrator, with
                the approval of Co-Lead Class Counsel and Counsel for the NFL
                Parties, will institute the following procedures relating to claim audits:
                ...

Section 10.4 provides:

                The Claims Administrator, in consultation with Co-Lead Class Counsel
                and Counsel for the NFL Parties, will also establish system-wide
                processes to detect and prevent fraud, including, without limitation,
                claims processing quality training and review and data analytics to spot
                “red flags” of fraud, including, without limitation, alteration of
                documents, questionable signatures, duplicative documents submitted
                on claims, the number of claims from similar addresses or supported
                by the same physician or office of physicians, data metrics indicating
                patterns of fraudulent submissions, and such other attributes of claim
                submissions that create a reasonable suspicion of fraud.

Again, it is hard to imagine someone reading these two sections and concluding, as YLF and NCFL

apparently did, that the only claims subject to possible audit are 10% of those claims found to

qualify for Monetary Awards. Rather, as noted above, the Amended Settlement Agreement

requires the Claims Administrator to “establish and implement procedures to detect and prevent

fraud” without regard to a claim’s status in the process. Are YLF and NCFL taking the position

that the Claims Administrator should turn a blind eye to potential fraud in claims that have not yet

been reviewed for possible Monetary Award, and/or to those claims that were found not to qualify

for Monetary Award? If so, that position flies in the face of common sense and the language of

the Amended Settlement Agreement and the Rules Governing the Audit of Claims, and would

needlessly delay meritorious claims while resources are consumed conducting merits review of



                                                  4
         Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 5 of 8



claims that may not survive an audit. Why would the Amended Settlement Agreement require the

Claims Administrator to “establish a system-wide process to detect and prevent fraud” but not

allow the Claims Administrator to audit the very claims identified by that process?

       If it is not yet clear that the Claims Administrator’s authority to audit claims is not solely

derived from Section 10.3(c), as alleged by YLF and NCFL, Section 10.3(j) resolves the issue once

and for all. Sections 10.3(j) states:

               (j) In addition, if the Claims Administrator at any time makes a finding
               (based on its own detection processes or from information received
               from Co-Lead Class Counsel or Counsel for the NFL Parties) of fraud
               by a Settlement Class Member submitting a claim for a Monetary
               Award or Derivative Claimant Award, and/or by the physician
               providing the Qualifying Diagnosis, including, without limitation,
               misrepresentations, omissions, or concealment of material facts
               relating to the claim, the Claims Administrator will notify the
               Settlement Class Member and will make a recommendation to Co-Lead
               Class Counsel and Counsel for the NFL Parties to refer the claim to the
               Special Master (or the Court after expiration of the term of the Special
               Master and any extension(s) thereof) for review and findings that may
               include, without limitation, those set forth in Section 10.3(i).


There is nothing ambiguous about the language of 10.3(j). First, it uses the phrase “at any time”,

so the Claims Administrator’s authority to conduct audits is not specifically limited to those claims

that have already been approved for a Monetary Award. Similarly, the phrase “submitting a claim

for a Monetary Award or Derivative Claimant Award” indicates that the Claims Administrator has

the authority to conduct audits of claims that have been submitted, but not yet approved, for a

Monetary Award.

       As detailed above, YLF and NCFL simply fail to understand that the Amended Settlement

Agreement and the Rules Governing the Audit of Claim do not limit the Claims Administrator’s

authority to audit only claims to only those that have been approved for Monetary Award. Their

failure to understand that fact is the genesis of almost every complaint in their motion.

                                                 5
        Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 6 of 8



       Those complaints raised in YLF and NCFL’s motion that do not directly stem from their

failure to understand that the Claims Administrator is not limited in the types of claims they can

audit, are nonetheless without merit since they are based on other misunderstandings of the

Amended Settlement Agreement. For example, YLF and NCFL complain that their players who

have had their claims denied are being deprived of their appellate rights because the Claims

Administrator is auditing their claims. That is simply not true. As stated in Rules 8 and 14 of the

Rules Governing the Audit of Claims, when a claim is placed into audit, all of the claims

processing deadlines are suspended wherever the claim is at that time in the review, appeal or

payment process. If the audit is completed without the Claims Administrator determining that there

is a reasonable basis to support a finding of a misrepresentation, omission, or concealment of a

material fact in connection with that claim, the claim is removed from audit and it continues in the

process. So, if the claim was under appeal when placed into audit, the appeal process would

resume with relevant deadlines adjusted accordingly, and with all parties having their full appellate

rights. Those players are not being deprived of any appellate rights.

       YLF and NCFL also complain about the appeal process, separate and apart from the audit

process. Specifically, YLF and NCFL complain that the Rules Governing Appeals of Claim

Determinations do not allow for the submission of “new matters.” That claim is without merit.

To begin with, the phrase “new matters” is not used in the appeal rules cited in the motion. Co-

Lead Class Counsel believes that YLF and NCFL are actually referring to “new evidence” as that

phrase is used in the appeal rules at issue. In any event, Rule 23 allows the Special Master to

accept “new evidence” (i.e. evidence that was not originally submitted with the Claims Package

and, therefore, not considered in the review of that claim) in the appeal process. Again, YLF and

NCFL are mistaken.



                                                 6
         Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 7 of 8




                                       CONCLUSION

       For the foregoing reasons, as well as for the reasons stated in the Claims Administrator’s

Response to Motion to Prohibit Ex Parte Interviews with Treating Doctors and Partial Joinder to

the Motion Brought by the Locks Law Firm Filed by Neurocognitive Football Lawyers, LLC

Lawyers, The Yerrid Law Firm and Neurocognitive Football Lawyers’ Motion to Review

Deprivation of Appeal Rights should be denied. The Claims Administrator’s authority to conduct

audits, as provided for in the Amended Settlement Agreement and the Rules Governing the Audit

of Claims, is not limited to those situations stated in Section 10.3(c).




Dated: April 13, 2018                                  Respectfully submitted,


                                                       /s/ Christopher A. Seeger
                                                       Christopher A. Seeger
                                                       SEEGER WEISS LLP
                                                       55 Challenger Road, 6th Fl
                                                       Ridgefield Park, New Jersey 07660
                                                       Phone: (212) 584-0700
                                                       Fax: (212) 584-0799


                                                       Co-Lead Class Counsel




                                                  7
         Case 2:12-md-02323-AB Document 9881 Filed 04/13/18 Page 8 of 8



                                 CERTIFICATE OF SERVICE

       I, Christopher A. Seeger, hereby certify that a true and correct copy of the foregoing

response was served electronically via the Court’s electronic filing system on the date below

upon all counsel of record in this matter.



Dated: April 13, 2018



                                                         /s/ Christopher A. Seeger
                                                         Christopher A. Seeger




                                             8
